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                                             September 23, 2024

BY ECF
Hon. Catherine O’Hagan Wolfe
Clerk of Court
United States Court of Appeals
for the Second Circuit
40 Foley Square
New York, New York 10007
Email: civilcases@ca2.uscourts.gov

       Re:     Zivkovic v. Laura Christy LLC, Dkt. No. 22-1558 (2d Cir.)

Dear Ms. O’Hagan Wolfe:

       I write respectfully on behalf of Laura Christy LLC, an appellant in the above-referenced
expedited appeal. On September 20, 2023, the Court granted appellants’ motion to expedite based
upon appellant David Ghatanfard’s serious medical condition. This appeal has since followed an
unanticipated, time-consuming path, involving the declaration of bankruptcy by two co-appellants,
resulting litigation in the bankruptcy court, additional litigation in the district court, and then
supplemental briefing in this Court.

       Laura Christy LLC fully appreciates the time and consideration that the Court has dedicated
to this matter, especially considering its extensive caseload and the press of other business.
Because so much time has passed, however, and because Mr. Ghatanfard’s illness persists, we
would be deeply grateful for any additional expedition that the Court might afford to this appeal.
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      We thank the Court for its consideration of this letter.

                                     Respectfully submitted,

                                    ABRAMS FENSTERMAN, LLP




                              By:
                                             Daniel S. Alter
                                Counsel for Appellant Laura Christy LLC


Cc:   All counsel by ECF




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